       Case 2:13-cv-20000-RDP Document 1721 Filed 11/09/17 Page 1 of 2                   FILED
                                                                                2017 Nov-09 PM 05:27
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


IN RE:                                       )
                                             )
BLUE CROSS BLUE SHIELD                       )     Case No. 2:13-cv-20000-RDP
ANTITRUST LITIGATION                         )           (All Related Cases)
(MDL No. 2406)                               )


                                     ORDER

      Per the discussions of the Weekly Telephone Conference held on November

9, 2017, the court will construe Subscriber Plaintiffs’ Status Report on Outstanding

Structured Data (doc. 1669) as it relates to United and Viva. A response is due no

later than November 21, 2017. A reply, if any, is due no later than November 28,

2017. The court will hear argument regarding the issue on November 30, 2017, at

1:00 P.M. in Courtroom 3B of the Hugo L. Black US Courthouse, Birmingham,

Alabama, before the undersigned, as set by the Order dated November 6, 2017

(doc. 1674).

      The Subscriber Plaintiffs are ORDERED to serve a copy of Subscriber

Plaintiffs’ Status Report on Outstanding Structured Data (doc. 1669) on United and

Viva. The Clerk is DIRECTED to serve a copy of this Order at the following

addresses:
      Case 2:13-cv-20000-RDP Document 1721 Filed 11/09/17 Page 2 of 2



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      DONE and ORDERED on November 9, 2017.



                                      _______________________________
                                      T. MICHAEL PUTNAM
                                      UNITED STATES MAGISTRATE JUDGE


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